Case 8:10-cr-00258-SDM-UAM Document 316 Filed 02/25/13 Page 1 of 3 PageID 3207


                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION



 UNITED STATES OF AMERICA,


 vs.                                                     CASE NO. 8:10-cr-258-T-17MAP


 JOHN W. LEBRON,

                                         /
                                              ORDER

        This cause comes before the Court on Defendant, John W. Lebron’s (“Lebron”),

 Emergency Motion for Humanitarian Relief. (Dkt. 315). Lebron seeks an order releasing him to

 the custody of his sister to transport him to St. Joseph’s Hospital to visit his father who has been

 diagnosed with a terminal illness. Alternatively, Lebron seeks an order permitting Lebron to be

 escorted to and from St. Joseph’s Hospital by the U.S. Marshals. The government objects to any

 order releasing Lebron to the custody of his sister, but the government has not weighed in one

 way or the other with regards to an order permitting the U.S. Marshals to facilitate the

 transportation. (Dkt. 315, ¶ 8).

        The vicissitudes of Lebron’s father’s medical condition cannot be understated.

 According to the attending physician, “[h]e is in grave condition from metastatic cancer to his

 lung and liver. He is currently on Hospice and may succumb to death with 24 hours.” (Dkt. 315,

 Exhibit 2). Lebron’s request to be released to the custody of his sister, however, is denied and

 will not be considered in the future. Lebron’s request to be released to the U.S. Marshals is

 denied without prejudice to renew the motion once the following conditions are met:

        1) A security check with local law enforcement and the arresting agency will be
        made to determine if any family member or associate is a fugitive, or if such
        persons would pose a threat to the prisoner or the deputies;
Case 8:10-cr-00258-SDM-UAM Document 316 Filed 02/25/13 Page 2 of 3 PageID 3208


        2) An “advance” of the destination should be conducted, if appropriate;
        3) The prisoner will be fully restrained;
        4) District management will determine the length of the visit, up to a maximum of
        one (1) hour. The visit may be terminated at any time if conditions indicate a
        safety or security risk. The private viewing or visitation will be limited to the
        prisoner, the transporting deputies, the funeral director or medical personnel, and
        the deceased or critically ill. It may be advisable to have the deceased brought by
        the funeral director to an alternate location for viewing;
        5) There will be no advance notice to the prisoner concerning the date or time of
        the visit;
        6) A minimum of one-on-one plus one deputy will be used on any aforementioned
        detail. The detail may be augmented with additional deputies at the discretion of
        district management; and
        7) Payment of the costs of USMS personnel and transportation will be sought
        prior to each deathbed visit, viewing, and other special situations.

 Lebron may submit a renewed motion and attach to it a statement by a U.S. Marshals

 representative that each of the aforementioned requirements has been met (i.e., payment of all

 costs to the U.S. Marshals) or will be complied with during the visit (i.e., the prisoner will be

 fully restrained). The renewed motion must also disclose whether the U.S. Marshals determines

 that any of the aforementioned safety measures is not appropriate in this instance. The Court

 will reconsider the application at that time. Accordingly, it is

        ORDERED that Defendant, John W. Lebron’s (“Lebron”), Emergency Motion for

 Humanitarian Relief is DENIED without prejudice. Lebron may file a renewed motion in

 accordance with this Order.




        DONE AND ORDERED in Chambers in Tampa, Florida this 25th day of February,
Case 8:10-cr-00258-SDM-UAM Document 316 Filed 02/25/13 Page 3 of 3 PageID 3209


 2013.




 Copies furnished to:
 All Counsel of Record
 U.S. Marshals
 Pretrial Services
